                               No. 24-3166
                                Criminal

             In the United States Court of Appeals
                     For the Eighth Circuit

                    UNITED STATES OF AMERICA,

                                APPELLEE,

                                     V.


                     AMONDO ANTOINE MILLER,

                               APPELLANT.


                          Appeal from the
                 United States District Court for the
                       District of Minnesota


                          BRIEF OF APPELLEE


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                      SUMMARY OF THE CASE

      Amondo      Antoine     Miller       participated   in   a   nationwide

telemarketing fraud conspiracy that bilked tens of thousands of

victims—including elderly and otherwise vulnerable individuals—out

of hundreds of millions of dollars. A jury found him guilty of conspiring

to commit mail fraud and committing substantive counts of wire fraud.

The district court sentenced him to 96 months’ imprisonment.

      Miller brings three claims on appeal. Miller first argues that the

indictment should have been dismissed based on his claim that the

government presented false testimony to the grand jury. He also

argues that the district court abused its discretion in applying a

downward variance and sentencing him to 96 months’ imprisonment

based on his claims that there was insufficient evidence to establish

the amount of loss and that his sentence was disproportionate to those

of his co-conspirators. Finally, he contends that the evidence was

insufficient to support the jury’s verdict. The issues are adequately

addressed in the parties’ briefs, and no oral argument is necessary.




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                   STATEMENT OF THE ISSUES

I.     Did the district court plainly err by failing to dismiss the
       indictment sua sponte based on the case agent’s grand jury
       testimony that Miller was the owner of Magazine Solutions when
       the testimony was true as a practical matter, was consistent with
       other witnesses’ trial testimony, and the petit jury found Miller
       guilty?

            United States v. Smialek, 970 F.3d 1070 (8th Cir. 2020)
            United States v. Fenner, 600 F.3d 1014 (8th Cir. 2010)

II.    Did the district court clearly err in applying a 16-level
       enhancement for loss amount over $1.5 million where the district
       court relied on data from an online tool Miller and his employees
       used to track the amount of money Miller’s company collected
       from victims?

            United States v. Bradford, 113 F.4th 1019 (8th Cir. 2024)
            United States v. Karie, 976 F.3d 800 (8th Cir. 2020)
            United States v. Gaye, 902 F.3d 780 (8th Cir. 2018)

III.   Is this the nearly inconceivable case where the district court
       abused its considerable sentencing discretion by imposing a 96-
       month sentence and not varying downward still further?

            United States v. Dickson, 127 F.4th 722 (8th Cir. 2025)
            United States v. Lazarski, 560 F.3d 731 (8th Cir. 2009)

IV.    Was the verdict supported by sufficient evidence where the jury
       heard that Miller voluntarily and intentionally joined an
       agreement to defraud victims by tricking them into paying for
       unwanted magazine subscriptions?

            United States v. Druger, 920 F.3d 567 (8th Cir. 2019)
            United States v. Hansen, 791 F.3d 863 (8th Cir. 2015)
            United States v. Louper-Morris, 672 F.3d 539 (8th Cir.
            2012)


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                     STATEMENT OF THE CASE

      Defendant Amondo Antoine Miller participated in a large,

nationwide     telemarketing        fraud   scheme      involving     magazine

subscription sales. Miller’s role in the fraud scheme was twofold: he

ran a telemarketing call center for a fraudulent magazine company,

and he also acted as a lead broker selling fraudulent “lead lists” of

victim consumers who had active and ongoing subscriptions to be used

by other magazine companies to perpetrate the fraud.

      Miller and others conspired to defraud victims across the

country, many of whom were elderly and otherwise vulnerable. Miller

and his co-conspirators fraudulently induced consumers into making

payments      related     to    purported        magazine        subscriptions.

Telemarketers working for the fraudulent companies called lists of

consumers and told a series of lies, including that the telemarketer

was calling from the consumer’s existing magazine company and was

calling in order to reduce the monthly payments for an existing

magazine subscription. In reality, the company had no existing

relationship with the consumer and tricked the consumer into paying




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for an expensive, new magazine subscription that they did not want or

understand they were ordering.

I.    Factual Background

      A.     The    Fraudulent              Magazine        Telemarketing
             Conspiracy

      Beginning      by    at   least       2000,   magazine     subscription

telemarketing companies across the country called individuals with

existing magazine subscriptions and deceived victim consumers into

paying for new, expensive and unwanted magazine packages. (Tr./II

392-393.) Telemarketers represented that they were calling about the

victims’ existing magazine subscriptions and offered to provide

something of value, such as reducing the ongoing monthly payments

or shortening the payment period. (Id. 394, 406, Tr./IV 597-98, Tr./V

807, 821-22.) In reality, the telemarketers signed up the victims for

new magazine subscriptions that they did not approve or want. (Id.)

      Far from operating in isolation, the magazine companies

functioned in concert. (Tr./IV 529-31.) After charging unsuspecting

victims for new magazine subscriptions they did not agree to, the

companies sold or traded the victims’ personal information (including

name, address, existing subscription details, and credit card number)


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to other magazine companies perpetrating the same fraud. (Id. 549-

50.) The next fraudulent magazine company, in turn, called the

victims and repeated the same scam. (Id. 552-53, Tr./V 844-45, 857.)

      The effect was that a single consumer went from having one

magazine subscription to, at times, more than a dozen, all with

different fraudulent magazine companies, each “sold” under the

auspices of “reducing” the consumer’s monthly rate. Some of the

victims were being charged by a dozen or more companies a month and

were charged more than $50,000 for magazines they did not want or

knowingly order. (Gov’t Exh. A-16.) For example, one victim’s bank

statement for March and April 2018 contains 16 charges for magazines

from 10 different magazine telemarketing companies, including two

charges from Magazine Solutions, for a total of $841:




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(Gov’t Exh. A-8, at 231.)

      The co-conspirators and their companies worked together to

carry out their scheme. Among other things, they bought, sold, and

traded “lead lists” of victim consumers to one another. (Tr./II 395.) The

lead lists—known as “PDS” or “paid-during-service” leads—contained

names and contact information for consumers who had active and

ongoing subscriptions. (Tr./III 446-47, Tr./IV 549-50, Tr./VII 1429.)

The companies used the information on these lead lists to defraud

consumers by fraudulently pretending to be calling from the

customers’ existing magazine provider to discuss the status of an

existing magazine subscription. (Tr./V 844-45.)




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       Some PDS leads had more detailed information, identifying not

only the customer’s name and contact information, but their address,

age, profession, credit card number, and list of magazines to which the

customer subscribed. (Id. 856.) They contained the names of those

consumers—disproportionately elderly and otherwise vulnerable—

who would fall for the fraud again and again. (Tr./III 447, Tr./IV 554.)

As such, the leads were sold at a considerable premium. (Tr./IV 550-

51.)

       B.    Miller’s Participation in the Conspiracy, Including
             His Operation of Magazine Solutions and Power
             Sales and Marketing

       Starting in at least 2009, Miller ran a fraudulent magazine

subscription sales company based in Colorado called Magazine

Solutions. (Tr./VII 1305.) He oversaw a team of telemarketers who

called individuals on PDS lead lists—that is, people with existing

magazine subscriptions—and lied to them to sign them up for new

magazine subscription packages that they never agreed to purchase.

(Id. 1311, 1316, 1328-29, 1396.) At the same time, Miller worked as a

lead broker through a related company called Power Sales &

Marketing. (Tr./VI 1022-25.) Miller provided his Magazine Solutions



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telemarketers with blank Power Sales and Marketing “lead sheets”

and directed the telemarketers, after completing a sale, to fill out those

lead sheets by hand, listing the victim’s name, address, phone number,

payment information, and magazine subscription package. (Tr./VII

1312-13.) Miller then compiled those handwritten lead sheets and sold

them to other magazine companies and lead brokers that participated

in the conspiracy. (Gov’t Exhs. C-24, C-32.)

      Miller knowingly participated in the fraudulent conspiracy in

two respects: as a company owner, whose telemarketers defrauded

victims directly; and as a lead broker, who sold victims’ personal

information to other co-conspirators knowing that it was used to

perpetuate the same fraud scheme. First, Miller operated Magazine

Solutions as a fraudulent magazine telemarketing company. Miller

oversaw the company’s sales floor (Tr./VII 1328-29); Miller trained

telemarketers how to deceive victims (id. 1309); and Miller provided

telemarketers with the scripts they used to perpetrate the fraud (id.

1311, 1396). For example, Miller provided Magazine Solutions

telemarketers with the below sales script:




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(Id. 1309-10; Gov’t Exh. B-17.)

      The scripts Miller provided to his telemarketers to use at

Magazine Solutions contained false statements that the telemarketers

were “not calling to collect any money.” (Tr./VII 1396-98.) They falsely

represented themselves as calling solely about the magazines the


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victims were already receiving. (Id. 1311-12, 1396-97.) They never told

the victims that they were signing up those victims for new

subscription packages. (Id.) But in reality, the Magazine Solutions

telemarketers were “calling to sign [victims] up for a new magazine

subscription, which entitled collecting money.” (Id. 1398.)

      Miller knew that his telemarketers were following the scripts

and telling the lies contained therein. Miller listened in on his

telemarketers’ sales calls. (Id. 1328; Tr./XIV 3239-40.) Miller

monitored the calls to ensure that his telemarketers were lying to

customers as the scripts instructed. (Id.) And in addition to coaching

his employees to lie to customers, Miller personally acted as the

salesperson, closer, verifier or collector on at least 451 calls with

victims between 2014 and 2020. (Tr./XIII 2772-74; Gov’t Exh. P-4.)

      Miller    used      the   victim     information      generated     by    his

telemarketers’ calls to victims at his telemarketing company,

Magazine Solutions, to make more money as a lead broker through his

other company, Power Sales and Marketing. Miller gave his

telemarketers at Magazine Solutions blank Power Sales and

Marketing lead sheets. (Tr./VII 1312-13.) Each salesperson “would



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have a little stack of [those lead sheets] on their table,” and the

telemarketers would fill in the customer information whenever they

made a “sale.” (Id.) Miller stored the completed Power Sales and

Marketing lead sheets in a closet at the Magazine Solutions office, (id.

1316), and then sold those leads to other companies in the fraudulent

magazine industry. (Gov’t Exhs. C-24, C-32.)

      For example, in 2013, Miller met co-conspirator Wayne Dahl,

who owned and operated a magazine telemarketing company called

Your Magazine Service, through another co-conspirator named Brian

Cox. (Tr./IV 543-44, 573-74, 578-79; Gov’t Exh. Q-9.) Prior to meeting

Miller, Dahl had been purchasing leads from Cox. (Tr./IV 574.)

According to Dahl, he “paid good money” to Cox for “some files that did

not perform” (i.e., PDS leads that ultimately did not yield fraudulent

sales), so he flew to Georgia, where Cox lived, and confronted Cox

directly. (Id. 573-74.) Dahl explained that Cox “started crying a little”

and then “made a phone call to the person he got the leads from, which

was Amondo Miller.” (Id. 575) Eventually, Cox “put [Dahl] on the

phone     with    Amondo.”      (Id.)      Miller    apologized      about    the

“misunderstanding” and promised to “replace” the file. (Id.) Cox



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provided Dahl with Miller’s contact information, and then Dahl and

Miller began working together on “[t]he business of fraud.” (Id. 576.)

They communicated directly via email. (Id.) Miller’s leads were

extremely valuable to Dahl because Miller “had really good data, hard

copies, which are the best leads you can buy in the industry, and you

make an extremely large amount of money off that data.” (Id.)

      Miller sold PDS leads to several fraudulent magazine

telemarketing company owners and employees, including Dahl, Eric

McGarrity, Jared Michelizzi, Daniel Klibanoff, and James Sierra.

(Tr./IV 588, 596-97, Tr./V 856, Tr./VI 1022-25, Tr./VII 1430, Tr./IX

1943, Gov’t Exhs. C-10, C-12, C-23, C-27, C-32; C-90.) The lead lists

Miller sold to his co-conspirators included victim data like names,

addresses, telephone numbers, credit card numbers, expiration dates,

billing dates, and the magazines the victims were receiving, that

would assist the other magazine telemarketing company owners in

defrauding the victims by pretending to be their existing magazine

companies. (Tr./IV 593, 596-97.) Miller’s handwritten “hard copy”

leads were “the best leads you could possibly get.” (Tr./V 856.)




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      Miller used a customer relationship management (CRM) tool

called PS Online to handle the recurring billing functionality for

Magazine Solutions. (Tr./XI 2456, Tr./XII 2766-67.) PS Online

maintained a cash status report that reflected all of a magazine

telemarketing company’s orders on a month-by-month basis. (Tr./XI

2460, Tr./XII 2767-68; Gov’t Exh. P-2a.) The PS Online cash status

report for Magazine Solutions reflected that in total, Magazine

Solutions collected over $2.7 million from victims. (Tr./XII 2770-71;

Gov’t Exh. P-2a, at 5.) During the same time period, Magazine

Solutions entered into contracts with victims that totaled over $4.9

million. (Id.)

II.   Procedural History

      A.     Indictment, Trial, and Verdict

      On October 20, 2020, a federal grand jury returned an

indictment charging Miller and 42 other defendants with conspiracy

to commit mail fraud in violation of 18 U.S.C. §§ 1341 and 1349. (R.

Doc. 15, Indictment.) The indictment included substantive mail and

wire fraud counts, including 6 counts in which Miller was charged with

wire fraud in violation of 18 U.S.C. § 1343. (R. Doc. 15, Counts 11, 15,



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18, 21, 26, and 32.) Each count of the indictment alleged that the

enhanced penalties of 18 U.S.C. § 2326 applied because the offense

was committed in connection with telemarketing and victimized ten

or more persons over the age of 55. (R. Doc. 15.)

        Miller’s trial, along with co-defendants Tashena Crump and

Ballam Dudley, 1 began on October 12, 2023. (R. Doc. 1932.) During the

trial, the jury heard from 48 witnesses, received thousands of pages of

documentary evidence, and listened to hours of audio recordings. Two

of the substantive wire fraud counts were dismissed during trial—one

on the government’s motion, and one in response to Miller’s motion for

judgment of acquittal. (R. Doc. 2000, R. Doc. 2004.) At the conclusion

of the 17-day jury trial, the jury returned a verdict of guilty on all

remaining counts against Miller, including conspiracy to commit mail

fraud and four counts of wire fraud. (R. Doc. 2014.) The jury further

found that each count was in connection with the conduct of

telemarketing and each offense victimized ten or more persons over

the age of 55. (Id.)




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    See United States v. Tashena Crump, Appeal Number 24-3166.

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      B.     Motion for Judgment of Acquittal

      After the jury convicted him of Counts 1, 11, 15, 18, and 26,

Miller moved for judgment of acquittal on those counts. (R. Doc. 2070.)

As to the conspiracy count, Miller conceded that the government had

proven the existence of a conspiracy to commit mail fraud, but he

argued that there was insufficient evidence to demonstrate that he

knew of the agreement, knew the purpose of the agreement, or

voluntarily and intentionally joined it. (Id. at 3-4.) Similarly, Miller

claimed that the government had presented insufficient evidence to

prove his guilt beyond a reasonable doubt on the substantive wire

fraud counts. (Id. at 6-12.) Miller also filed a motion for new trial in

which he objected to several of the jury instructions. (R. Doc. 2071.)

      The district court denied Miller’s motions as to the conspiracy

count and three of the substantive wire fraud counts, finding that “the

government introduced copious evidence supporting the convictions,”

and that “the backdrop of coconspirator testimony, victim testimony,

fraudulent scripts, lead lists, other documentary evidence seized from

Defendants’ places of business, undercover recordings, and victim

bank statements cannot be ignored.” (R. Doc. 2307, at 4.)



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      The district court found ample evidence that Miller knowingly

and willfully joined the conspiracy, including his employees’ testimony

that they used fraudulent sales scripts at his direction and his sale of

lead lists, which the jury was entitled to conclude Miller knew would

be used to commit fraud. (Id. at 5.) Similarly, the district court

sustained three of the substantive wire fraud counts, finding that “the

jury reasonably concluded that Miller either knew or was willfully

blind to the fact that the lead lists would be used in a fraudulent

scheme.” (Id. at 9.) The district court also rejected Miller’s objections

to the jury instructions and denied his motion for a new trial. (Id. at

14-18.)

      The district court granted Miller’s motion for acquittal of Count

26 on the ground that the government failed to establish that the

charged email traveled across state lines. (Id. at 7-8.)

      C.     Sentencing

             1.    Presentence Report

      The United States Probation Office calculated a total offense

level of 34 and a criminal history category of III. (PSR ¶¶ 118-128, 130-

146.) The Guidelines calculation was based on a base offense level of

7, a 16-level enhancement because Miller was responsible for

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$2,722,431.11 in loss as a result of the fraudulent magazine scheme, a

2-level enhancement because the offense involved 10 or more victims

and was committed through mass marketing, a 2-level enhancement

because the offense involved sophisticated means and the defendant’s

conduct was especially intricate and complex, a 2-level adjustment

because the defendant knew or should have known that a victim of the

offense was a vulnerable victim, a 2-level adjustment because the

offense involved a large number of vulnerable victims, and a 3-level

enhancement because the defendant was a manager or supervisor.

(PSR ¶¶ 119, 121-123.) The resulting Guidelines range was 188 to 235

months’ imprisonment. (PSR ¶ 176.)

             2.    Miller’s  Objections           to     the     Guidelines
                   Calculation

      Prior to sentencing, both parties submitted position pleadings.

Instead of seeking a Guidelines sentence of 188 to 235 months, the

government requested a sentence of 144 months’ imprisonment based

on, among other factors: (1) Miller’s dual role both running a

fraudulent magazine company and acting as a lead broker selling

fraudulent lead lists used by other magazine companies to perpetrate

the fraud; (2) Miller’s participation in a large, nationwide fraud


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scheme that defrauded thousands of elderly and otherwise vulnerable

victims; (3) Miller’s collection of over $2.7 million from victims, and

the fact that he benefited by receiving a significant portion of these

profits; (4) Miller’s aggravating role in the offense, which placed him

among the most culpable of those involved in the scheme; (5) the need

for specific and general deterrence; and (6) Miller’s criminal history,

including kidnapping at gunpoint a person who had stolen drugs from

him. (R. Doc. 2465.)

      Miller objected to the loss calculation contained in the PSR,

contending that the appropriate loss amount would be less than $1.5

million because the $2,722,431.11 loss calculation was based on too

long a timeframe and contained amounts that should have been

deducted. (R. Doc. 2467, at 7-15.) He contended that he should not

receive an enhancement for sophisticated means because he claimed

that other participants in the scheme engaged in conduct that was

more sophisticated than his. (Id. at 15-16.) With respect to the role

enhancement, Miller objected based on his contention that he was not

the owner and operator of Magazine Solutions for the entire time

period of the conspiracy. (Id. at 1, 16-17.)



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      Miller also moved for a downward departure or a variance,

contending that the loss calculation was overstated, that his criminal

history category substantially overstated the seriousness of his prior

offenses, and based on the § 3553(a) factors, including the need to

avoid an unwarranted disparity between Miller’s sentence and those

of his co-conspirators. (Id. at 2, 17-23.) Miller requested a sentence of

time served or, alternatively, a sentence of three years’ imprisonment.

(Id. at 2.)

              3.   Sentencing Hearing

      At the sentencing hearing, Miller maintained his objections to

the 16-level enhancement for loss amount, the sophisticated means

enhancement, and the role enhancement. (R. Doc. 2562, at 4-11.) The

government relied on the evidence presented at trial in support of each

enhancement. As to the amount of loss, the government pointed out

that cash status reports maintained by PS Online, the customer

relationship management tool Miller’s companies used, reflected that

Miller’s companies actually collected $2.7 million from victims, but the

companies billed the victims for a total of $4.9 million. (Id. at 13.) If

the district court calculated the Guidelines using this $4.9 million



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intended loss, this would result in an even larger enhancement. (Id.)

As to sophisticated means, the government relied on Miller’s use of a

nominee owner for his telemarketing company and the fact that he

operated both a telemarketing company and as a lead broker. (Id. at

15-16.) As to the role enhancement, the government relied on the trial

evidence reflecting that Miller ran his companies in every respect and

the jury’s rejection of his claim that his wife was operating the

companies. (Id. at 11-12.)

      The district court overruled Miller’s objections regarding the

Guideline enhancements and adjustments. The district court found

that the amount of loss was correctly calculated based on the PS

Online report admitted in evidence at trial. (Id. at 20.) The district

court relied on the “scheme for getting people to turn over credit card

numbers and to agree to magazines that they really didn’t want . . .

with the buying of lists and all that was done to make these purported

sales” as sophisticated means that Miller employed. (Id. at 20-21.) As

to the role enhancement, the district court found based on the trial

evidence that Miller had “a role of running the company and being

heavily involved in the managing and oversight and telling people how



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to make the sales, purchasing and selling lists, and everything that

was necessary to make this process work.” (Id. at 21.)

       The district court granted Miller’s motion for a downward

departure based on overstatement of criminal history and treated

Miller’s criminal history as a Category II. (Id. at 25.) As a result, the

district court calculated a total offense level of 34, a criminal history

category II, and a resulting Guidelines range of 168 to 210 months.

(Id. at 26.)

       The district court requested arguments from the parties based

on the § 3553(a) factors, “bearing in mind the Court’s attempts here to

make sure that we have no unwarranted sentencing disparities with

other defendants in this case, and there are, of course, many.” (Id. at

27.)

       Miller requested that the district court impose a sentence of

three years’ imprisonment, based in part on his argument that such a

sentence would avoid unwarranted disparities with the sentences his

co-conspirators received. (Id. at 27, 32-37.) Miller cited a co-

conspirator with a higher loss amount and a higher Guideline range,

and who lived a wealthy lifestyle based on the proceeds of the fraud,



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who received a sentence of 120 months. (Id. at 33.) He also provided

examples of magazine company owners who received sentences of

three or nine months. (Id. at 34.)

      Because Miller persisted in failing to accept responsibility

throughout the sentencing process, instead of continuing to seek a

downward variance to 144 months, the government sought a bottom-

of-the-Guideline range sentence of 168 months. (Id. at 37-40.) The

government disagreed with Miller’s assessment of his relative

culpability in the scheme, arguing that Miller was a leader of the

scheme because he used his telemarketing company to generate leads

that he sold via his lead broker company, and those leads were found

at telemarketing companies all over the country. (Id. at 42.) The

government distinguished Miller’s conduct from that of specific co-

conspirators who received lower sentences. (Id. at 44-45.)

      Prior to the imposition of sentence, Miller addressed the district

court. (Id. at 50-54.) He persisted in refusing to take responsibility,

claiming that he never intended to scam anyone, blaming the victims’

losses on “occasional billing mistakes,” and taking the position that he

“focused on providing quality service.” (Id.)



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      After hearing both parties’ arguments, the district court applied

nearly a 50% downward variance and sentenced Miller to 96 months’

imprisonment. (Id. at 55.) The district court began its analysis by

highlighting its consideration of Miller’s co-conspirators’ sentences:

      Bear in mind that I have to take into account the sentences
      given to co-defendants, that that is significant. I can’t—in
      terms of no unwarranted sentencing disparities, I can’t put
      you up as high as Mr. Anthony Moulder, in part because of
      the massive amount of money involved in his case. I feel
      that you belong below that, but at the same time, [the
      government] makes really good points about the extent of
      your involvement in this case.

(Id. at 55-56.) The district court went on to discuss Miller’s
history and characteristics:

      Your history and characteristics are mixed, like most
      people. You know, there are some challenging childhood
      issues, although not nearly as bad as many of the people
      that I see. Wrong influences are a problem for a lot of
      people. And I do appreciate many of the good things,
      including the coaching, that you have done. I have taken
      into account the substance disorder issue, which obviously
      we personally observed.

(Id. at 56.) The district court took into account each of the
remaining § 3553(a) factors, including the seriousness of the
offense and the need to provide just punishment:

      I do find the sentence to be serious. There’s no question
      about it. It is a very serious fraud and when you take it all
      together, it’s the largest elder fraud set of convictions in the
      nation and you were, at least for a time, an owner and you
      were involved in passing along the lists.


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      I’m not worried about protecting the public from you in the
      future. I think that this is in the past now.

      I do want to make sure, and it’s one of the reasons for not
      a higher sentence, that you do not receive a penalty for
      going to trial, which you exercised that right, which you
      have a right to do, and I do feel strongly about that.

      I do feel that this is just punishment. It will represent
      deterrence and also the seriousness of the offense and the
      length of time that you were involved, not necessarily the
      money, which was less and I don’t see evidence of a, you
      know, flagrantly rich lifestyle as a result of this, but at the
      same time, it lasted for a long period of time. And the dual
      role, which [the government] makes a point of, I think is
      one that I have also taken into account. All in all, I find the
      sentence to be sufficient, but not more than necessary.

(Id. at 55-57.) Miller filed a timely notice of appeal. (R. Doc. 2597.)




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                  SUMMARY OF THE ARGUMENT

      The district court did not err, much less plainly so, by failing to

dismiss the indictment sua sponte because one of the government’s

case agents testified before the grand jury that Miller was the owner

of the magazine telemarketing company that he ran, Magazine

Solutions. The testimony was true as a practical matter—Miller’s wife

was a nominee owner. It was also consistent with the testimony of

Miller’s employees, who testified that Magazine Solutions was Miller’s

company, and they viewed him as the owner. Moreover, a petit jury’s

verdict of guilty renders any grand jury error harmless. Miller’s

counsel had a full opportunity to cross-examine the case agent

regarding any inconsistency between his grand jury testimony and the

Colorado Secretary of State documents incorporating Magazine

Solutions. Because the trial jury found Miller guilty, Miller cannot

establish any actual prejudice based on this grand jury testimony.

      Next, the district court did commit clear error in concluding that

Miller   was    eligible    for   a   16-level   increase    under    U.S.S.G.

§ 2B1.1(b)(1)(I) because the loss from Miller’s offense was more than

$1.5 million but less than $3.5 million. The district court credited



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evidence presented at trial that established the loss amount.

Specifically, Miller’s companies used an online tool called PS Online

to track their magazine orders. That tool reflected the total amount of

money     Magazine        Solutions   collected   from     its   victims    was

$2,722,431.11. The district court’s factual findings in support of the

enhancement were not clearly erroneous, and the application of the

enhancement should be affirmed.

      Miller’s claim that the district court’s imposition of a below-

Guidelines sentence of 96 months’ imprisonment was an abuse of

discretion similarly fails. Miller contends that the district court’s

sentence created unwarranted sentencing disparities between him

and some of his co-conspirators. Considerations of unwarranted

sentencing disparities under § 3553(a) concern national disparities,

not comparisons with sentences received by co-conspirators. In any

event, the district court carefully considered the sentences it had

imposed on Miller’s co-conspirators in arriving at a fair and just

sentence for Miller that was approximately one half of the Guidelines

range. The district court did not abuse its discretion by not varying

downward even more.



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      Finally, the district court did not err in denying Miller’s motion

for a judgment of acquittal because the evidence against Miller was

overwhelming. The government presented evidence of a nationwide

telemarketing scheme that defrauded victims—including elderly and

otherwise vulnerable individuals—by lying to the victims to trick them

into paying for new, unwanted magazine subscriptions.

      It also presented evidence that Miller voluntarily and

intentionally joined in the agreement, knowing the purpose of the

agreement. The government presented evidence to show that Miller

operated a fraudulent telemarketing company, Magazine Solutions,

where he provided his employees with scripts to use on telemarketing

calls to defraud the victims, trained his employees to deceive people

on the calls, and monitored their calls to ensure they were delivering

the scripts correctly. Miller sold leads consisting of the victims’

personal information collected on the telemarketing calls to the

owners of other fraudulent magazine telemarketing companies

nationwide via his lead brokerage company, Power Sales and

Marketing. Miller’s arguments to the contrary run counter to the

sufficiency standard, which requires that the evidence be viewed in



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the light most favorable to the verdict. The evidence supporting the

jury’s verdict was more than sufficient, and the judgment of conviction

should be affirmed.




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                               ARGUMENT

I.    The District Court Did Not Plainly Err By Failing To
      Dismiss the Indictment Sua Sponte Based on Miller’s
      Claimed Grand Jury Misconduct.

      A.     Standard of Review and Legal Standard

      Miller claims the indictment should be dismissed based on his

claim that the grand jury heard inaccurate evidence about his

ownership of the magazine company he controlled, Magazine

Solutions. “In reviewing the district court’s denial of a motion to

dismiss the indictment for alleged government misconduct, [this

Court] review[s] the district court’s factual findings for clear error and

its legal conclusions de novo.” United States v. Pumpkin Seed, 572 F.3d

552, 557 (8th Cir. 2009) (cleaned up).

      However, Miller forfeited the issue by failing to raise it before

the district court, so this Court’s review is for plain error. United

States v. Smialek, 970 F.3d 1070, 1075 (8th Cir. 2020). Under the plain

error standard, “this Court will affirm the conviction unless (1) the

district court made an error, (2) the error was plain under current law,

meaning clear and obvious, and (3) the error was prejudicial and




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affected the trial outcome.” United States v. Jackson, 155 F.3d 942,

947 (8th Cir. 1998) (citation omitted).

      “Even if [Miller] had preserved this issue, he would need to show

prejudice because [this Court] only dismiss[es] a grand jury

indictment ‘upon a showing of actual prejudice to the accused.’”

Smialek, 970 F.3d at 1075 (quoting United States v. Ziesman, 409 F.3d

941, 948 (8th Cir. 2005)). “A petit jury’s guilty verdict renders any

errors in the charging decision not prejudicial.” Id. (citing United

States v. Louper-Morris, 672 F.3d 539, 559 (8th Cir. 2012)).

      B.     There Was No Falsehood Before the Grand Jury and
             No Basis to Dismiss the Indictment Based on Grand
             Jury Error.

      Miller argues for the first time before this Court that the

indictment against him should be dismissed based on his claim that

one of the government’s case agents made a false statement before the

grand jury. But Miller never moved the district court to dismiss the

indictment on this basis, so his claim is forfeited. See Smialek, 970

F.3d at 1075. Even if Miller had raised this issue before the district

court, his claim would fail, because (1) the grand jury testimony was




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not false, and (2) the petit jury’s verdict renders any error harmless in

any event.

      Miller’s argument focuses on a brief snippet of testimony given

by one of the government’s case agents before the grand jury on

October 20, 2020:

      Q.  Magazine Solutions is the fraudulent magazine
      company owned by Amondo Miller, correct?

      A.     Yes.

      Q.   Amondo Miller we talked about before is a lead
      broker but he’s also a company owner?

      A.     Correct.

(Def.’s Br. at 13-14.)

      As an initial matter, Miller’s claim fails because this testimony

was not false. It was consistent with trial testimony from several of

Miller’s employees—some of whom were Miller’s own witnesses—that

Magazine Solutions was Miller’s company. Two of Miller’s employees

at Magazine Solutions—Macario Aguilar and Brittany Wilson—

testified that Miller was the person in charge of Magazine Solutions.

(Tr./VII 1316 (Aguilar), 1417 (Wilson).) Aguilar testified that Miller

taught him to deceive customers, Miller gave him the false sales script



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to use with customers, Miller gave him sales sheets labeled Power

Sales and Marketing to fill in with customer information, and Miller

was the one who Aguilar “really dealt with when it came to things

being said on the phone.” (Id. 1309-1313, 1316.) Aguilar testified that

Miller would listen in on his sales calls with customers and would

sometimes call Aguilar into his office after a call to critique Aguilar’s

technique. (Id. 1328-29.)

      Similarly, Wilson testified to her understanding of Miller’s

control of Magazine Solutions:

      Q.   From your perspective working there, who ultimately
      was in charge of that company?

      A.     Definitely Mr. Amondo.

      Q.     Why do you say “definitely?”

      A.    Because he, like, made it clear he was the boss. It was
      like his company.

      Q.     How did he make it clear it was his company?

      A.     By saying those words. Like this is my company, like
      it’s not his wife or Sue’s company or anybody else. It’s his
      money and he made that clear.

(Id. 1417-18.)




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      Moreover, Miller’s own witnesses, including two of his former

Magazine Solutions telemarketers and his chauffeur, further testified

that Magazine Solutions was Miller’s company. (Tr./XIV 3179

(Dolezal, testifying that Miller “treated his employees well and also

his, his customers”); 3206-07 (Ortega, testifying that Miller “took care

of his employees” and that she worked at “Amondo’s company”); 3239-

40 (Ruiz, agreeing that “Amondo Miller was the boss of Magazine

Solutions” and it was “his business”)).

      Miller argues that the case agent’s testimony that Miller owned

a fraudulent magazine company amounted to perjury because Miller’s

name did not appear on the incorporation documents for Magazine

Solutions that were filed with the Secretary of State. But even if

Miller’s use of his wife and cousin as nominee owners on the

incorporation paperwork for Magazine Solutions could render the

testimony false, which it does not, Miller’s claim would still fail

because the petit jury’s guilty verdict would render the error harmless.

See Smialek, 970 F.3d at 1075.

      Miller’s counsel fully explored this issue during the case agent’s

cross examination during trial. Indeed, Miller’s counsel began her



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cross-examination by asking the case agent about his grand jury

testimony:

      Q.     Let me first talk about the topic of ownership. You
      testified before the grand jury that Mr. Miller was the
      owner of Magazine Solutions. Do you recall that?

      A.     Yeah, vaguely.

      Q.    And that testimony was on October 13, 2020; is that
      right?

      A.     Yeah. Makes sense.

      Q.  Okay. When you made that statement, you had not
      examined the Colorado Secretary of State records for
      Magazine Solutions, had you?

      A.     No. I think it was probably anecdotal.

(Tr./VIII 1644.) Miller’s counsel continued by walking the case agent

through a series of exhibits from the Colorado Secretary of State’s

Office, establishing over the course of nearly ten transcript pages that

Miller’s name did not appear on the Secretary of State’s Office filings

for Magazine Solutions until 2019. (Id. 1644-1649, 1691-1694.)

Notably, Miller’s own exhibit from the Colorado Secretary of State

reflected that in September 2019, Miller made a filing with the

Secretary of State’s Office on Magazine Solutions’ behalf. (Id. 1693-94;

Miller Exh. 7 at 23.)


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      Miller’s counsel also had an opportunity to fully cross-examine

Miller’s employees about their understanding the Miller owned

Magazine Solutions. Miller’s counsel explored with Aguilar the legal

ownership of Magazine Solutions, and Aguilar testified that

regardless of the legal ownership of the company, “[w]e saw it as he

[Miller] was the owner.” (Id. 1356.)

      The case Miller cites for the proposition that prosecutors’

presentation of perjured testimony can amount to a due process

violation involved an allegation that prosecutors knowingly presented

perjured testimony at the defendant’s trial. See United States v. Bass,

478 F.3d 948, 950-51 (8th Cir. 2008) (emphases added). But the

defendant’s own cases establish that even if “errors in the charging

decision . . . may have followed from the conduct of the prosecution or

[an agent], the petit jury’s guilty verdict render[s] those errors

harmless.” United States v. Kouba, 822 F.2d 768, 774 (8th Cir. 1987).

      For example, in United States v. Fenner, the government’s case

agent misidentified a drug exhibit during grand jury testimony in a

fentanyl case. 600 F.3d 1014, 1021 (8th Cir. 2010). The defendants

moved to dismiss the indictment on the ground that the government



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“deceived the grand jury into thinking all the substances had been

‘truly tested’ when they had not been.” Id. After declining to label the

“potentially innocent misstatement as misconduct,” this Court found

that “even if we were to assume prosecutorial misconduct occurred, it

is well-established that a petit jury’s guilty verdict normally renders

errors in the grand jury proceedings harmless.” Id. (citing Pumpkin

Seed, 572 F.3d at 556-57).

      In this case, the case agent’s testimony before the grand jury that

Miller was the owner of Magazine Solutions was not false. Rather, it

was consistent with the documentary evidence Miller presented and

trial and with Miller’s employees’ trial testimony that Magazine

Solutions was Miller’s company. In addition, Miller’s counsel

effectively had an opportunity to both present the Secretary of State

documents and explore any perceived discrepancy with the case

agent’s testimony before the trial jury. As a result, Miller cannot show

any actual prejudice from the grand jury testimony, and the district

court did not commit plain error by failing to sua sponte dismiss the

indictment on this basis.




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II.   The District Court Did Not Clearly Err in Applying a 16-
      Level Enhancement for Loss Amount Over $1.5 Million.

      A.     Standard of Review and Legal Standard

      This Court reviews the district court’s interpretation and

application of the Sentencing Guidelines de novo and its findings of

fact for clear error. United States v. Savage, 414 F.3d 964, 966 (8th

Cir. 2005). Miller’s arguments faults the district court’s factfinding, so

this Court applies clear error review.

      The Guidelines related to fraud crimes provide for a 16-level

increase in the offense level if the loss from the defendant’s offense is

more than $1.5 million but less than $3.5 million. U.S.S.G.

§ 2B1.1(b)(1)(I). The Guidelines define “loss” as “the greater of actual

loss or intended loss.” U.S.S.G. § 2B1.1(b)(1), n. A. “‘Actual loss’ means

the reasonably foreseeable pecuniary harm that resulted from the

offense,” and “intended loss” is “the pecuniary harm that the

defendant purposely sought to inflict[.]” Id. n. C(i)-(ii).

      As long as the district court’s loss amount determination “is

plausible in light of the record as a whole, clear error does not exist.”

United States v. Karie, 976 F.3d 800, 804 (8th Cir. 2020) (quoting

United States v. Harmon, 944 F.3d 734, 738 (8th Cir. 2019)). “Though


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the government must prove sentencing enhancements by a

preponderance of the evidence, the district court does not have to make

a precise determination of the loss, only a reasonable estimate.” Id.

       B.    The District Court Did Not Clearly Err by Finding
             the Loss That Resulted From Miller’s Offense Was
             Between $1.5 Million and $3.5 Million.

       After reviewing both parties’ sentencing position pleadings and

hearing both parties’ arguments, the district court properly calculated

the loss from Miller’s offense to be $2,722,431.11 and applied a 16-level

increase under Section 2B1.1(b)(1)(I). (R. Doc. 2562, at 25-26.) The

district court’s calculation was reasonably based on evidence received

at trial. Specifically, the online tool Miller and his employees used to

track their magazine orders reflected that this was the total amount

of money Magazine Solutions collected from its victims. (Gov’t Exh.

P2.)

       Miller argues, without analysis, that there was “insufficient

evidence tying “$2,722,431.11 in losses directly to [him].” (Def.’s Br. at

7.) But the district court had before it a cash status report from

Magazine Solutions’ customer relationship management tool, PS

Online, reflecting that the total amount of money Magazine Solutions



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received from victims was $2,722,431.11, along with trial testimony

that Miller ran Magazine Solutions and directed his employees on how

to defraud victims. (Tr./XIII 2766-2770; Gov’t Exh. P2.) The PS Online

cash status report further reflected that the total original value of

Magazine      Solutions’     fraudulent    contracts    with    victims     was

$4,909,840.56. (Id.)

      At the sentencing hearing, Miller’s counsel objected to the

district court’s reliance on the PS Online cash status report based on

purported discrepancies that counsel claimed undermined the

credibility of the report. (R. Doc. 2562, at 6-9.) Specifically, Miller

claimed that the cash status report contained entries beginning in

November 2010, when Miller claimed he had not yet joined the

conspiracy, that the cash status report contained entries from dates

before Magazine Solutions contracted with PS Online, that Miller had

identified approximately $10,000 in transactions that he claimed were

included in the cash status report in error, and that the amount

reflected in the cash status report differed from the amount of the

deposits into Miller’s companies’ US Bank accounts. (Id.)




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      The government pointed out that even if the court deducted the

amounts that Miller challenged from the PS Online cash status report,

the offset would be small and would not result in a loss amount below

$1.5 million. (Id. at 13-14.) The government further reminded the

district court of the trial testimony regarding the reliability of the cash

status report, argued that $2,722,431.11 was a conservative loss

figure, and pointed out that the government could have advocated for

intended loss based on the $4,909,840.56 that Magazine Solutions

attempted to collect from its customers. (Id. at 13-15.) The district

court found a loss amount of $2,722,431.11, reasoning as follows:

      I do find, based on the evidence at trial, that the dollar
      amount from PS Online is probably the best measure of
      money going through these companies. I recognize that
      there are some differences with the US Bank account, but
      at the same time, I think that to be consistent, we’re trying
      to use the PS Online numbers throughout.

(Id. at 20.)

      In United States v. Bradford, 113 F.4th 1019, 1025-26 (8th Cir.

2024), this Court recently affirmed a loss calculation in a fraud case

that was based on the district court crediting the government’s expert

report calculating the amount of loss. See also United States v. Gaye,

902 F.3d 780, 790 (8th Cir. 2018) (affirming loss calculation where


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district court relied on chart provided by the government at sentencing

hearing). In doing so, the Court recognized that “[t]he district court at

sentencing ‘need only make a reasonable estimate of the loss.’”

Bradford, 113 F.4th at 1026 (quoting United States v. Hodge, 588 F.3d

970, 975 (8th Cir. 2009)). The Court “defer[red] to the district court’s

loss calculation because it is in a unique position to assess the evidence

and estimate the loss based upon that evidence.” Id. (cleaned up).

      Miller’s disagreement with the district court’s credibility

determination regarding the PS Online cash status report is not

sufficient to establish clear error. The district court’s factual findings

in support of its application of the enhancement for loss amount were

not erroneous, much less clearly so. The district court’s conclusion that

$2,722,431.11 was a reasonable estimate of the actual loss

attributable to Miller was supported by more than the required

preponderance      of     the   evidence.   Miller’s   assertion     that   the

enhancement was incorrectly applied should accordingly be rejected.




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III. The District Court Did Not Abuse Its Discretion by
     Imposing a 96-Month Sentence.

      A.     Standard of Review

      This Court reviews the substantive reasonableness of a sentence

for abuse of discretion. United States v. Burns, 834 F.3d 887, 890 (8th

Cir. 2016). This Court “may find abuse of discretion where the

sentencing court fails to consider a relevant factor that should have

received significant weight, gives significant weight to an improper or

irrelevant factor, or considers only appropriate factors but commits

clear error of judgment in weighing those factors.” United States v.

Bonnell, 932 F.3d 1080, 1083 (8th Cir. 2019) (cleaned up). The

defendant bears the burden on appeal to establish that, after

consideration of the § 3553(a) factors, his sentence is too harsh. United

States v. Bolden, 596 F.3d 976, 984-85 (8th Cir. 2010).

      In reviewing for substantive reasonableness, this Court gives

“great deference to the district court.” United States v. Jones, 701 F.3d

327, 330 (8th Cir. 2012). District courts have “wide latitude” to weigh

factors and to assign some factors greater or lesser weight than others.

See, e.g., United States v. Wisecarver, 911 F.3d 554, 558 (8th Cir. 2018).

As a result, “[t]he district court does not abuse its discretion simply


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because it weighs the relevant § 3553(a) factors differently than the

defendant thinks appropriate.” United States v. Skog, 820 F. App’x

494, 496 (8th Cir. 2020). Nor does the mere fact that the district court

could have weighed the sentencing factors differently amount to an

abuse of discretion. See, e.g., United States v. Hall, 825 F.3d 373, 375

(8th Cir. 2016).

      This Court has observed that “it will be the unusual case when

we reverse a district court sentence—whether within, above, or below

the applicable Guidelines range—as substantively unreasonable.”

United States v. Feemster, 572 F.3d 455, 464 (8th Cir. 2009) (en banc)

(cleaned up). The fact that an appellate court “might reasonably have

concluded that a different sentence was appropriate is insufficient to

justify reversal of the district court.” Id. at 462 (quoting Gall v. United

States, 552 U.S. 38, 51 (2007)). And where, as here, the sentencing

court varied downward, this Court has observed that “it is nearly

inconceivable that the court abused its discretion in not varying

downward still further.” United States v. Lazarski, 560 F.3d 731, 733

(8th Cir. 2009); see also United States v. Anwar, 880 F.3d 958, 973 (8th

Cir. 2018) (same).



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      B.     The District Court Did Not Abuse Its Discretion by
             Imposing a 96-Month Term of Imprisonment.

      The district court varied downward to a sentence of 96 months’

imprisonment from an advisory range of 168 to 210 months after

carefully considering the § 3553(a) sentencing factors. The district

court made an appropriate exercise of its discretion in sentencing

Miller to 96 months’ imprisonment for his role in defrauding seniors

and other vulnerable individuals out of millions of dollars in a

nationwide magazine telemarketing fraud scheme.

      The district court thoroughly and compellingly explained its

sentence. The district court emphasized the seriousness of a fraud

scheme that was “the largest elder fraud set of convictions in the

nation,” and Miller’s role as “an owner and you were involved in

passing along the lists.” (R. Doc. 2562, at 56.) The court noted both the

positive and negative aspects of Miller’s history and characteristics.

(Id. at 55-56.) The court also emphasized the need to avoid

unwarranted sentencing disparities and the need to avoid penalizing

Miller for exercising his right to trial. (Id.) Having varied downward

substantially after balancing both aggravating and mitigating

circumstances, the district court committed no abuse of discretion


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here. This is certainly not the nearly inconceivable case in which the

court abused its discretion in not varying downward still further.

      Miller argues that the district court’s 96-month sentence created

unwarranted sentencing disparities with some of his co-conspirators

in the fraud scheme, including Stacey Persons, Brian Williams, and

Jared Michelizzi. (Def.’s Br. at 18-19.) As this Court has emphasized,

however, “[t]he statutory direction to avoid unwarranted sentencing

disparities among defendants, 18 U.S.C. § 3553(a)(6), refers to

national disparities, not differences among co-conspirators.” United

States v. Pierre, 870 F.3d 845, 850 (8th Cir. 2017) (citing United States

v. Fry, 792 F.3d 884, 892-93 (8th Cir. 2015)). Thus, Miller’s assertion

that a comparison with his co-defendants demonstrates an abuse of

discretion “founders on a mistaken premise.” Id. at 850; see also Gaye,

902 F.3d at 791 (same).

      In support of his claim of an unwarranted disparity, Miller relies

on United States v. Lazenby, 439 F.3d 928 (8th Cir. 2006), a

consolidated appeal of similarly situated co-conspirators with an

“extreme disparity” in sentencing. (Def.’s Br. 5475656, at 18.) In

addition to the national-disparities admonitions in cases like Pierre



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and Gaye, the precedential value of Lazenby has been questioned by

this Court. United States v. McDowell, 676 F.3d 730, 733-34 (8th Cir.

2012) (noting that Lazenby’s focus on “extraordinary circumstances”

renders its precedential value “suspect” after Gall).

      The Court has repeatedly distinguished Lazenby from cases like

this one, in which one defendant is comparing his sentence to other

defendants whose sentences are not under review in the same appeal.

See United States v. Soliz, 857 F.3d 781, 783 (8th Cir. 2017) (noting

that Lazenby “addressed the unusual circumstance of extreme

disparities between the sentences of co-conspirators, reviewed in a

consolidated appeal”). Most recently, this Court rejected a defendant’s

claim that his sentence created an unwarranted disparity with his co-

conspirators on the ground that “[t]he lack of a consolidated appeal

precludes a determination whether apparent disparities are justified

by the co-conspirators’ different roles in what in this case was an

extensive overarching conspiracy, which would mean they were not

‘found guilty of similar conduct.’” United States v. Dickson, 127 F.4th

722, 730 (8th Cir. 2025).




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      In any event, Miller’s sentence did not create any unwarranted

sentencing disparities. Far from ignoring the sentences of Miller’s co-

conspirators, the district court varied downward to 96 months’

imprisonment in part based upon explicit consideration of the

sentences the district court had previously imposed, including on

Miller’s co-conspirator Anthony Moulder. As the district court

explained:

      Bear in mind that I have to take into account the sentences
      given to co-defendants, that that is significant. I can’t—in
      terms of no unwarranted sentencing disparities, I can’t put
      you up as high as Mr. Anthony Moulder, in part because of
      the massive amount of money involved in his case. I feel
      that you belong below that, but at the same time, [the
      government] makes really good points about the extent of
      your involvement in this case.

(R. Doc. 2562, at 55-56.)

      The district court thoroughly analyzed the manner in which the

co-conspirators were similarly and dissimilarly situated. More

broadly, the court calibrated its sentence of Miller to reflect not only

comparisons with his co-conspirators, but also all of the other

§ 3553(a) aggravating and mitigating factors. The district court does

not abuse its discretion by weighing aggravating and mitigating

factors differently than the defendant would have liked. Hall, 825 F.3d


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at 375 (“[T]he mere fact that the court could have weighed the

sentencing factors differently does not amount to an abuse of

discretion.”).

      The district court made careful exercise of its sentencing

discretion in this matter. Its judgment should be affirmed.

IV.   The Verdict Was Supported by Overwhelming Evidence.

      A.     Standard of Review

      This Court reviews de novo the denial of a motion for a judgment

of acquittal due to insufficiency of the evidence. United States v.

Aungie, 4 F.4th 638, 643 (8th Cir. 2021). This Court applies the same

standard of review to the district court’s denial as it does to a

sufficiency of the evidence challenge. Id. The Court “views the entire

record in the light most favorable to the government, resolves all

evidentiary conflicts accordingly, and accepts all reasonable inferences

supporting the jury’s verdict.” Id. (cleaned up). This Court does not

“weigh the evidence or assess the credibility of the witnesses.” United

States v. Lundstrom, 880 F.3d 423, 436 (8th Cir. 2018). Rather, the

Supreme Court has emphasized, “it is the responsibility of the jury—

not the court—to decide what conclusions should be drawn from



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evidence admitted at trial.” Cavazos v. Smith, 132 S. Ct. 2, 4 (2011)

(per curiam).

      This Court describes the standard of review here as “very strict.”

United States v. Druger, 920 F.3d 567, 569 (8th Cir. 2019) (cleaned up).

This Court will reverse a conviction “only if [it] conclude[s] that no

reasonable jury could have found the accused guilty beyond a

reasonable doubt.” Id. (cleaned up). “As long as one theory based on

the evidence presented could allow for a reasonable jury to find [the

defendant] guilty beyond a reasonable doubt,” this Court will uphold

the jury verdict. Id.

      B.     The Evidence Was Sufficient.

      Miller was charged with conspiring to commit mail fraud by

participating in a nationwide telemarketing scheme that defrauded

hundreds of victims—including elderly and otherwise vulnerable

individuals—by lying to the victims on telemarketing calls to trick

them into paying for unwanted, new magazine subscriptions. In order

to prove Miller guilty, the government was required to prove: (1) “that

two or more persons reached an agreement or came to an

understanding to devise, make up, or participate in a scheme to



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defraud [victims] out of money or property, by means of material false

representations or promises;” (2) “that [Miller] voluntarily and

intentionally joined in the agreement or understanding, either at the

time it was first reached or at some later time while it was still in

effect;” and (3) “that at the time [Miller] joined in the agreement or

understanding,      he    knew    the     purpose      of   the   agreement        or

understanding.” United States v. Hansen, 791 F.3d 863, 870-71 (8th

Cir. 2015).

      As the district court correctly found in denying Miller’s motion

for judgment of acquittal, “the government introduced copious

evidence supporting the convictions.” (R. Doc. 2307, at 4.) Miller’s

indicted      co-conspirators    confirmed       his    membership       in   the

telemarketing conspiracy. (Tr./IV 557 (Dahl); Tr./VI 1022-23

(Klibanoff); Tr./VII 1430 (Sierra); Tr./IV 1990, 1997 (Michelizzi)). After

testifying that Miller was “part of this fraud scheme,” lead broker

Daniel Klibanoff described Miller’s role in the conspiracy as follows:

      Well, twofold. One is that he was looking for—he was
      selling magazines and looking for PDS names; and
      secondly, he was selling leads and acting as a list broker. I
      really don’t know where the leads that he sold, where they
      came from, but he had contacts and he was able to get his
      hands on hard copies.


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(Tr./VI 1022-23.)

      Co-conspirator Wayne Dahl explained how he first met Miller. It

started with a confrontation he had with Brian Cox, a separate lead

broker who participated in the conspiracy. According to Dahl, he “paid

good money” to Cox for “some files that did not perform” (i.e., leads

that did not yield fraudulent sales), so Dahl flew to Georgia, where

Cox lived, and confronted Cox directly. (Tr./IV 574.) Dahl explained

that Cox “started crying a little” and then “made a phone call to the

person he got the leads from, which was Amondo Miller.” (Id.)

Eventually, Cox “put [Dahl] on the phone with Amondo.” (Id. 576.)

Dahl and Miller later communicated directly via email. (Id.) Dahl

described this as extremely valuable because Miller “had really good

data, hard copies, which are the best leads you can buy in the industry,

and you make an extremely large amount of money of that data.” (Id.)

      Dahl’s testimony was corroborated by emails between Dahl and

Miller in which the two discussed the fraudulent magazine business

and the sale of “PDS renewal files.” (Gov’t Exh. C-9; see also Gov’t

Exhs. C-8, C-10, C-12, C-13, C-20, C-21, C-22, C-23, C-27.) Emails

between Miller and other members of the conspiracy also discussed


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the fraudulent scheme using the vernacular of the conspiracy,

including terms like “hard copy” and “PDS”:




     Gov’t Exh. C-24                                   Gov’t Exh. C-32

As set forth above, Miller’s co-conspirators testified that Miller’s

handwritten “hard copy” leads were “the best leads you could possibly

get.” (Tr./V 856.)

      In addition to Miller’s interactions with other fraudulent

company owners and lead brokers, the jury heard testimony about the

internal operations of Miller’s company, Magazine Solutions, from his

former employees. Former Magazine Solutions telemarketers Macario

Aguilar and Brittany Wilson testified about how Miller ran the

company. (Tr./VII 1417-18.) According to their testimony, Miller

oversaw the company’s sales floor (Id. 1328-29, 1396); Miller trained

telemarketers how to deceive victims (Id. 1309); and Miller provided

telemarketers with the scripts they used to perpetrate the fraud (Id.

1311, 1396).


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      The jury also heard evidence that Miller was aware that his

telemarketers were following the scripts Miller provided and

repeating the lies contained in them. The testimony at trial—

including the testimony of Miller’s witnesses—established that Miller

listened in on his telemarketers’ sales calls. (Tr./VII 1328; Tr./XIV

3239-40.) Miller monitored the calls to ensure that his telemarketers

were lying to customers as his scripts instructed. (Id.) In addition,

Miller made his own calls to victims on at least 451 occasions between

2014 and 2020. (Tr./XIII 2772-74; Gov’t Exh. P-4.)

      Aguilar and Wilson also testified that Miller gave his

telemarketers blank Power Sales and Marketing lead sheets. (Tr./VII,

1312-13.) Each salesperson “would have a little stack of [those lead

sheets] on their table, and the telemarketers would fill in the customer

information whenever they made a “sale.” (Id.) Miller stored the

completed Power Sales and Marketing lead sheets in a closet at the

Magazine Solutions office, (id. 1316), and then he sold those leads to

other companies in the fraudulent magazine industry. (See Gov’t Exhs.

C-24, C-32.)




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      Miller makes several arguments as to why he claims the

evidence was insufficient. None is persuasive. First, Miller argues that

the sales pitch employed by Magazine Solutions did not contain any

fraudulent representations. (Def.’s Br. at 19, 21.) But as Aguilar and

Wilson explained—and as the scripts themselves demonstrate—the

scripts at Magazine Solutions contained all the hallmarks of the fraud

and deception at the heart of the conspiracy.

      Miller’s telemarketers falsely stated to victims that they were

“not calling to collect any money.” (Tr./VII 1396-98.) They falsely

represented themselves as calling solely about magazines the victims

were already receiving. (Id. 1311-12, 1396-97.) They never told victims

that the telemarketers were signing them up for new subscription

packages. (Id.)

      As Wilson explained, the Magazine Solutions telemarketers

were “calling to sign [victims] up for a new magazine subscription,

which entitled collecting money.” (Id. 1398.) When pressed on this

topic during cross-examination, Wilson was resolute:

      Q.   [I]f a customer already had a subscription or an order
      with Magazine Solutions, this script wouldn’t be a lie,
      would it?



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      A.   I would say yes because we were calling to, like, get
      more money from them. So, yes, I would say it’s a lie.

      Q.    But you weren’t calling—but if you were representing
      that you were, you know, from their company, that would
      be true. Yes?

      A.   Yes, that is true. I think the main part that is a lie is
      in the second paragraph, “I am not calling to collect any
      money from you. I am calling to make sure they are coming
      out on time and in good condition.” And if they would
      respond yes or no, we would get them for more money. So,
      yeah, I would say the second paragraph is definitely a lie.

(Id. 1407-1408.) Asked whether he ever used “a truthful pitch as a

capper for Mr. Miller,” Aguilar responded, “No. It was all deception

the entire time.” (Id. at 1331.)

      Second, Miller claims that the government failed to present

evidence of his agreement to participate in a conspiracy. (Def.’s Br., at

19.) “A defendant’s agreement to enter a conspiracy does not have to

be explicit, but can consist of a tacit or implicit understanding.” United

States v. Weston, 443 F.3d 661, 669 (8th Cir. 2006) (citing United

States v. Kessler, 321 F.3d 699, 702 (8th Cir. 2003)). In this case,

multiple cooperating co-conspirators testified that they purchased

leads from Miller for purposes of using the leads to defraud victims.

(Tr./II 395 (Dahl); Tr./VII 1434 (Sierra); Tr./IX 1943 (Michelizzi)). One



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of these cooperating witnesses explicitly testified that he “conspired”

with Miller to commit fraud. (Tr./IV 557.) In addition, Miller’s

employees testified to his conduct at Magazine Solutions, including

providing them with the scripts they used to perpetrate the fraud,

training them to deceive victims, and monitoring their calls with

vitims. (Tr./VII 1309, 1311, 1328, 1396; Tr./XIV 3239-40.) There was

ample evidence from which a reasonable jury could find beyond a

reasonable doubt that Miller agreed to participate in the conspiracy.

      Third, Miller argues that the government failed to “implicate

Miller in any overt acts.” (Def.’s Br. at 7.) But “a conspiracy conviction

under § 1349 does not require proof of an overt act.” United States v.

Roy, 783 F.3d 418 (2d Cir. 2015) (citing, inter alia, United States v.

Rogers, 769 F.3d 372, 380-82 (6th Cir. 2014); United States v. Eason,

579, F. App’x 807, 810 n.3 (11th Cir. 2014) (per curiam); United States

v. Pascacio-Rodriguez, 749 F.3d 353, 363-64 & n. 49 (5th Cir. 2014);

United States v. Chinasa, 489 F. App’x 682, 685-86 (4th Cir. 2012) (per

curiam); United States v. Fishman, 645 F.3d 1175, 1186 (10th Cir.

2011); see also Eighth Circuit Manual of Model Jury Instructions

(Criminal) (2023) § 5.06A-1 n.2 (“An overt act is not required in



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conspiracies charged under . . . 18 U.S.C. § . . . 1349”); cf. Whitfield v.

United States, 543 U.S. 209, 219 (2005) (“Because the text of § 1956(h)

does not expressly make the commission of an overt act an element of

the conspiracy offense, the Government need not prove an overt act to

obtain a conviction.”).

      Even if an overt act was required, as set forth above, the

government presented ample evidence of Miller’s affirmative conduct

in furtherance of the conspiracy. These include providing his

Magazine Solutions telemarketers with blank Power Sales and

Marketing lead sheets to collect customer information, selling those

lead sheets to other telemarketing companies in the magazine

industry, and training his Magazine Solutions telemarketers to

defraud victims. (Tr./VII at 1309, 1312-13; Gov’t Exhs. C-24, C-32.)

      Finally,    Miller    claims    that   the    government       presented

“insufficient evidence to tie $2,722,431.11 in losses directly to him.”

(Def.’s Br. at 10.) But “the United States is not required to show actual

loss or harm to the victims of the fraud in order to prove wire fraud or

mail fraud.” Louper-Morris, 672 F.3d at 556. The government was not

required to tie Miller to any specific loss amount to convict him at trial.



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Rather, the amount of loss caused by Miller’s offense was an issue to

be determined by the district court at sentencing. See supra Section

II.

      The jury carefully discharged its responsibility to decide what

conclusions should be drawn from the evidence admitted at trial, and

its verdict is amply supported by that evidence. The judgment of

conviction should be affirmed.

                              CONCLUSION

      For the foregoing reasons, the district court’s judgment should

be affirmed.

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                  CERTIFICATE OF COMPLIANCE

      The undersigned attorney for the United States certifies this

brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32. The brief has 10,264 words, proportionally

spaced using Century Schoolbook, 14-point font. The brief was

prepared using Microsoft Word 365.



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